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                         UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

In re:

NILHAN FINANCIAL, LLC,                                Case No. 8:17-bk-03597-MGW
                                                      Chapter 7
         Debtor.
                                      /

              TRUSTEE’S AND CREDITORS’ RESPONSE AND OBJECTION
              TO CHITTRANJAN THAKKAR’S MOTION TO RECONSIDER
              ORDER GRANTING MOTION TO APPROVE COMPROMISE
                 OF CONTROVERSY OR SETTLEMENT AGREEMENT
                                 (Doc. No. 308)

         Douglas N. Menchise, Chapter 7 Trustee of the bankruptcy estate of Nilhan Financial,

LLC (the “Trustee”), together with SEG Gateway, LLC and Good Gateway, LLC (the

“Creditors”), by and through their undersigned counsels, hereby files their response and

objection to the Motion To Reconsider Order Granting Motion To Approve Compromise Of

Controversy Or Settlement Agreement (the “Reconsideration Motion”) (Doc. No. 308) filed by

Interested Party, Chittranjan Thakkar (“C. Thakkar”), as follows:

                                          Requested Relief

         This Court should deny the Reconsideration Motion. C. Thakkar raises no new evidence,

intervening change in controlling law, or facts to describe a need for this Court to correct clear

and manifest injustice, which are the relevant standards upon reconsideration.        Instead, C.

Thakkar misstates two facts that he relies upon for the request for reconsideration: (i) that his

counsel’s withdrawal on the eve of trial created him no ability to seek alternative counsel and/or

prepare for the trial; and (ii) that equity was not provided an opportunity to make a higher and

better offer to the Trustee. These allegations are simply false.




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                                            Background

         1.      On March 21, 2017, an involuntary petition for relief under Chapter 7 of the

Bankruptcy Code (the “Involuntary Petition”) was filed against the Debtor by a creditor, Moffa

& Breuer, PLLC.

         2.      The case was ultimately converted to a Chapter 7, with the Trustee appointed

thereafter.

         3.      There are related bankruptcy cases pending before this Court, multiple adversary

proceedings, multiple appeals before the district court, and multiple contest matters all involving

the Debtor (and now Trustee), C. Thakkar, the other related debtors (and that Chapter 7 Trustee)

(the “Related Trustee”), and the largest creditors in all of the estates, the Creditors.

         4.      Through a series of meetings, negotiations, analysis of all of the pending matters

both legally and factually, the Trustee and Creditors, together with the Related Trustee entered

into a multi-faceted settlement agreement essentially resolving all pending matters and disputes

between the various estates. This resulted in the conclusion of litigation spanning over six (6)

years.

         5.      During these negotiations, the Trustee met with C. Thakkar and his counsel to

discuss alternatives to a settlement with the Creditors. And, after the filing of the motion to

compromise, the Trustee through counsel and himself continued to encourage C. Thakkar to

offer a higher and better amount to the Trustee or alternatives to the settlement with the

Creditors. C. Thakkar did not offer any other alternatives that were better for the creditors

overall.

         6.      On August 30, 2018, this Court held a trial on the various motions to compromise

and related objections. At the trial, the Trustee testified that C. Thakkar had not offered a higher

amount of money to the estate or alternatives to the current settlement. Although the Trustee
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stated that a higher amount and taking on the risks of litigation could represent a higher and

better offer than the one with the Creditors and Related Trustee, at no time was this offered by C.

Thakkar. Hypotheticals are not offers. At the trial, C. Thakkar presented evidence and trial

testimony outlining why he believed the settlements were not in the best interest of the creditors.

This Court admitted all of the evidence introduced by C. Thakkar.              Nevertheless, at the

conclusion of the trial, this Court determined, in weighing all of the evidence presented to him,

that it was in the best interest of creditors of all of the estates to grant the motions to compromise

and overrule the objections.

       7.      C. Thakkar timely seeks reconsideration of that determination.

                                             Argument

       Reconsideration is justified under three circumstances: “(1) an intervening change in

controlling law; (2) the availability of new evidence; and (3) the need to correct clear and

manifest injustice.” In re Gedda, 2015 WL 1137883, *2 (Bankr. M.D. Fla. 2015)(citing In re

Envirocon Intern. Corp., 218 B.R. 978, 979 (M.D. Fla. 1998)). At issue in the Reconsideration

Motion is the third circumstance listed for justified reconsideration. Specifically, C. Thakkar

argues that this Court should grant a new trial or amend its Order Approving the Compromise of

Controversy or Settlement Agreement (“Order”) to “prevent injustice.” [Dkt. 308 at 3]. When the

basis for reconsideration is to prevent injustice, a prior decision should not be altered absent a

“showing of clear and obvious error.” Prudential Securities, Inc. v. Emerson, 919 F.Supp. 415,

417 (M.D. Fla. 1996).      Besides establishing error, in order “[t]o prevail on a motion for

reconsideration, the moving party must present new facts or law of a strongly convincing

nature.” Lomax v. Ruvin, 476 Fed. Appx. 175, 177 (11th Cir. 2012). These new facts are

important because “[a] motion for reconsideration cannot be used to relitigate old matters, [or]



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raise arguments or present evidence that could have been raised prior to the entry of judgment.”

In re Gedda, 2015 WL at *2 (explaining that reconsideration was not appropriate for a motion

seeking to correct injustice when all of the arguments presented by the movant either relitigated

issues or asserted arguments and evidence that could have been raised prior to judgment).

       In the Reconsideration Motion, C. Thakkar fails to raise any new facts, new issues, or

establish error; instead, he improperly focuses on facts and evidence that were known before the

entry of the Order. See Prudential Securities, 919 F.Supp. at 417 (stating “a district court’s

denial of reconsideration is especially soundly exercised when the party has failed to articulate

any reason for the failure to raise an issue at an earlier stage in the litigation.”). C. Thakkar has

not offered any alternatives. The time for those true negotiations and considerations has passed.

Therefore, reconsideration of the Order would be inappropriate and the Reconsideration Motion

must fail.

                                            Conclusion

       This Court did not error when it determined that the settlement agreement was in the best

interests of the creditors of the estate. C. Thakkar presented substantial evidence in an attempt to

persuade this Court that the settlement was not in the best interest of the creditors; however, this

Court, in weighing the testimony and evidence determined that the objection should be

overruled. There is no new evidence or facts that support a finding of manifest injustice.

       WHEREFORE, Douglas N. Menchise, Chapter 7 Trustee of the bankruptcy estate of

Nilhan Financial, LLC, respectfully requests that this Court enter an Order denying C. Thakkar’s

Motion for Reconsideration, upholding the Order granting Confirmation of Controversy or




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Settlement Agreement, and granting any other relief this Court deems just and proper.

       Dated: October 29, 2018

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                                            and Good Gateway, LLC




                               CERTICIFIATE OF SERVICE

     I HEREBY CERTIFY that on October 29, 2018, the foregoing TRUSTEE AND
CREDITORS’ RESPONSE AND OBJECTIONS TO CHITTRANJAN THAKKAR’S MOTION
TO RECONSIDER ORDER GRANTING MOTION TO APPROVE COMPROMISE OF
CONTROVERSY OR SETTLEMENT AGREEMENT was served electronically to all registered
CM/ECF participants.
                                /s/ Lara R. Fernandez
                                Attorney



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